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                        EXHIBIT E

                        Redacted
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From:                              Jay Schuffenhauer <Jschuffenhauer@bsfllp.com>
Sent:                              Monday, December 16, 2024 6:24 PM
To:                                z/Meta-Kadrey; Dunning, Angela L.
Cc:                                Llama C-Counsel
Subject:                           Kadrey v. Meta - Discovery Letters for 12/20



[External]

Counsel,

In light of the Friday deadline for raising discovery disputes with the Court, we intend to brief the following topics unless
the issues can be resolved via meet-and-confer. These topics all originated from recent deposi ons and/or Meta’s 12/13
document produc ons and privilege logs. We propose conduc ng this M&C immediately a er Mr. Zuckerberg’s
deposi on concludes tomorrow.

    1. Meta’s inadequate supplemental RFA/ROG responses.

        12/13 RFA Responses

        Plain ﬀs intend to submit a le er brief challenging the following RFA responses absent Meta’s agreement to
        amend them:

            Meta’s “subject to and without waiving the foregoing” language: This language obscures whether any of
             Meta’s objec ons qualify its responses.
            Meta’s “except as expressly admi ed” denials: Tacking on unexplained par al denials to most of the RFA
             responses is improper.
            RFAs 3-7, 17, 20, 23, 34, 43, 45-91, 94 & 96: Meta does not respond to the RFAs as wri en. The RFAs ask
             about copyrighted works and/or books. Meta is not allowed to answer in terms of “text” or “some text.” If
             Meta needs to qualify its admission to account for the CMI that it stripped from these works, then it can say
             so a er admi ng the RFAs.
            Meta’s RFA 7 response’s limita ons to “one or more Datasets” and “one or more copyrighted books” are
             improper.
            Meta’s RFA 8 response’s qualiﬁca on of “claim in this ac on to have authored” is improper. If Meta has a
             basis to believe any par cular plain ﬀ did not author any work at issue in the Datasets used to train Llama
             then it should say so and deny the RFA as to that plain ﬀ. But otherwise Meta should admit the RFA
             without this qualiﬁca on.
            Meta’s RFA 9 response’s qualiﬁca ons of “purportedly authored” and “to the extent those Datasets included
             the content of books they purportedly authored” is improper. If Meta has a basis to believe any par cular
             plain ﬀ did not author any work at issue and/or any Dataset does not include the work, then it can say so
             and deny the RFA as to that work and/or dataset but otherwise admit the RFA without those qualiﬁca ons.
            Meta’s “por on of” and “some content” limita ons in RFAs 16, 19, and 22 do not answer the ques on as
             asked. To the extent Meta denies it uses any por on of Books3, LibGen and/or The Pile then it can say what
             por ons in a par al denial. We note that Meta deponents tes ﬁed Meta used b3g, which includes
             Books3. Further, Meta should admit it used all the works in the datasets it produced.
            Meta’s response to RFA 26 does not answer the RFA as wri en.
            Meta fails to support its relevance and propor onality objec ons in response to RFA 35.
            Meta’s response to RFA 39 does not answer the RFA as wri en.

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   Further, Meta fails to answer RFAs 38, 44, and 98 but oﬀers to meet and confer. There is nothing ambiguous
   about these RFAs and Meta must answer them as wri en. Regarding RFA 38, to the extent you are unsure what
   “store” means, it means maintain a copy or copies of, however arranged in part or in whole. Regarding RFA 98,
   to the extent you are unsure what “sourced” means, you can omit that word; the RFA is the same with or
   without that word.

   12/13 ROG Responses

          Meta’s Responses to Plfs’ ROGs, Set 1
              o These responses con nue to improperly limit Meta’s responses to Llamas 1-3 only.
              o The responses improperly limit the plain meaning of “agreements,” including per Judge Hixon’s
                  orders in this case.
              o Meta improperly limits the deﬁni on of training data to Books3.
              o ROG 2: Meta failed to respond.
              o ROG 1: Meta’s response does not include Llamas 4 or 5.
              o ROGs 3 & 7: It is unclear whether Meta’s response includes Llamas 4 and 5. And, regardless, it
                  fails to describe in any detail how the model was ﬁne-tuned as to any Llama model, let alone all
                  of them. The responses similarly is scant on details of the speciﬁcs of Meta’s eﬀorts around
                  memoriza on with respect to the Llama models.
              o ROG 4: Meta’s response fails to iden fy or explain all of the “risks” it references or the
                  “mi ga on” it supposedly employed.
              o ROG 8: Does not address Llamas 3 and therea er.
              o ROG 10: Fails to provide the informa on requested for each copy Meta made of the datasets it
                  uses in pre- and/or post-training.
                  ROG 13: Does not address Llamas 4 or 5, and the documents iden ﬁed do not provide all the
                  informa on requested.

          Meta’s Responses to Plfs’ ROGs, Set 2
              o These responses con nue to improperly limit Meta’s responses to Llamas 1-3 only.
              o The responses improperly limit the plain meaning of “agreements,” including per Judge Hixon’s
                  orders in this case.
              o Meta improperly limits the deﬁni on of training data to Books3.
              o ROG 16: The incorpora on by reference without cita on at 15:6-8 is improper.

          Meta’s Responses to Plfs’ ROGs, Set 3
              o These responses con nue to improperly limit Meta’s responses to Llamas 1-3 only.
              o Meta improperly restricts the deﬁni on of shadow datasets to the extent it excludes any dataset
                  it used for any Llama model.
              o Meta improperly limits the deﬁni on of training data to Books3.
              o ROG 19: Meta fails to set forth the revenue its an cipated receiving through

               o   ROG 22: This ROG does not ask Meta for its opinion about what it needed to do or didn’t need
                   to do. If Meta didn’t do anything then it should just say so and that’s the end of it. See Dkt. 315
                   at 5.
               o   ROG 23: Meta’s response fails to iden fy what datasets it obtained from Anna’s Archive. It’s
                   also unclear from Meta’s response whether it obtained datasets from any other sources for any
                   of the Llama models or if it’s only the three listed.

2. Meta’s asser on of a orney-client privilege over business documents.

       a. Meta’s 12/13 privilege logs appear to reﬂect numerous redacted and withheld documents whose
          primary purpose is business-related.
                                                       2
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                b. Plain ﬀs will circulate a full list of challenged documents along with their le er brief.


    3. Meta’s asser on of a orney-client privilege over documents subject to the crime-fraud excep on.

             a. Meta’s 12/13 privilege logs appear to reﬂect numerous redacted and withheld documents where the
                a orney advice, if any, was used in furtherance of a crime or illegal scheme: in this case, the knowing
                torren ng of copyrighted works from pirated datasets like LibGen and subsequent use of those pirated
                works in connec on with training the Llama Models.
             b. Plain ﬀs will circulate a full list of challenged documents along with their le er brief.

    4. Requests for addi onal deposi on me.

             a. Plain ﬀs are s ll reviewing Meta’s 12/13 document produc on, but it already is clear that the
                produc on contains some of the most important documents of the case. Based on the ﬁle path names,
                many of these documents were collected by Meta as early as June 2024 but were withheld un l the very
                last night of fact discovery.
             b. As of now, Plain ﬀs believe that at least the following fact witnesses were deposed at a me where
                Meta had already collected (but had not produced) cri cal documents pertaining to their knowledge:
                      i. Melanie Kambadur; Sergey Edunov; Nikolay Bashlykov; Joelle Pineau; Eleonora Presani
             c. As discussed via earlier emails, the belated produc on, including of Mark Zuckerberg’s documents, may
                also prompt a request for addi onal deposi on me of Mr. Zuckerberg.

    5. Other RFP Refusals.

             a. Llama 4 and 5 datasets
                     i. Plain ﬀs believe these are covered by RFP 81, par cularly in light of Judge Hixson’s orders
                        regarding Llama 4-5 relevance.
             b. Torren ng Materials
                     i. In addi on to RFP 85, the items Plain ﬀs requested via email are also covered by RFP 119
                        (processing of copyrighted material). Regardless of whether governed by RFP 85 or 119,
                        Plain ﬀs believe Meta’s bit torrent client, applica on logs, and peer lists are relevant and should
                        be produced. It also appears at least Mr. Bashlykov may have used personal devices to
                        download/access datasets. See, e.g., Meta_Kadrey_00204223. Please conﬁrm Mr. Bashlykov’s
                        personal computer(s) were preserved and searched. Please also conﬁrm whether any other
                        Meta employees used their personal computers to download/access datasets.
             c. Supervised Fine Tuning Data
                     i. This data is relevant to Plain ﬀs’ RFPs 118 and 119, which encompass eﬀorts to prevent Llama
                        from emi ng copyrighted material as well as Meta’s processing of copyrighted material. The
                        supervised ﬁne tuning data directly serves this purpose.

In light of the large quan ty of issues, Plain ﬀs will submit their briefs to Meta on a rolling basis beginning tomorrow
a ernoon. All briefs will be with Meta no later than Wednesday at 3 PM PT. Plain ﬀs are also open to discussing an
omnibus le er brief if Meta would prefer.

Best,
Jay

Jay Schuffenhauer
Associa te


BOIES SCHILLER FLEXNER LLP
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